
On the other side, it was said, by the attorney general, that the entry was, in fact, false; for the salt exceeded the quantity entered; and it did not .clearly appear, that the bill of lading for the two bales of merchandize was read by Ross and the naval officer at the time of making out the manifest; which the master ought to have attended to, and had the omission corrected.
The court, however, thought there was no evidence of fraud; and that the proceeds of the sales, subject to the seamen’s wages, ought to be restored to the owners, but at *161the costs of the master and owners of the ship, as there was probable cause of seizure j and the following is the entry of the judgment made in the order book, “ this day came the parties by their counsel, and the court having maturely considered the transcript of the record, and the arguments of the counsel on both sides, are of opinion, that the said sentence is erroneous. Therefore, it is decreed and ordered, that the same be reversed and annulled ; and that the appellee pay to the appellants, the costs, by them, as well as' by the said Robert in his lifetime, expended in the prosecution of the appeal aforesaid here. And, the court, proceeding to give such sentence as the court of admiralty ought to have given, do further decree and order, that the libel be dismissed; that the sum of one thousand two hundred and thirty-seven pounds and one penny, the amount of the sales of the vessel and cargo be restored to the respective owners, retaining thereout twenty-four pounds eighteen shillings, the duty on the salt, and three pounds twelve shillings and six pence, the duty on the bale of goods in the proceedings mentioned, (which is to be paid to the treasurer for the use of the commonwealth,) and also retaining the sum of one hundred and twenty-two pounds three shillings and two pence half penny, for the costs in the court of admiralty, the court being of opinion, that there was probable cause of seizure | and the money raised, by the sale of the brigantine, being subject to the seamen’s wages, if any be due, in lieu of the ship, that such wages be secured, previous to the payment of that money, in such manner as the district court, directed by law to be holden at King &amp;s Queen courthouse, shall direct; which is ordered to be certified to the said district court.”
